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7
8
9     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

10                 EASTERN DIVISION – RIVERSIDE COURTHOUSE
11
12   SHIRLEY GARCIA and ANTHONY            ) CASE NO.: 5:15-cv-2093
13   GARCIA, as surviving heirs and        )
     successor in interest to decedent JOSEPH
                                           ) COMPLAINT FOR DAMAGES:
14   ANTHONY GARCIA,                       )
15                                         ) 1) 42 U.S.C. § 1983 – (Violation of 14th
               Plaintiffs,                 ) Amendment);
16                                         ) 2) 42 U.S.C. § 1983 – (Violation of 8th
17                                         )    Amendment)
               vs.                         )
18
                                           ) SUPPLEMENTAL STATE CLAIMS
19                                         )
     COUNTY OF RIVERSIDE; AARON            ) 3) Negligence / Wrongful Death
20
     MARTIN, an individual; KRISTINE       )
21   ZANETEL, an individual; SCOTT         )
22
     OVERTON, an individual; ADRIAN        )
     COTOIA, an individual; and DOES 1-50. ) DEMAND FOR JURY TRIAL
23                                         )
24
               Defendants.                 )
                                           )
25                                         )
26                                         )
                                           )
27                                         )
28

                                     - 1 -
                 COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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1
                PLAINTIFFS SHIRLEY GARCIA and ANTHONY GARCIA (hereinafter
2
     “Plaintiffs”) as surviving heirs and as successor-in-interest for their deceased son,
3
     JOSEPH ANTHONY GARCIA (“decedent”), and alleges as follows under California
4
     and Federal law:
5
                                       I. JURISDICTION
6
     1.         This case is brought pursuant to 42 U.S.C. § 1983. Jurisdiction is based
7
     upon 28 U.S.C. §§ 1331 and 1342. The court also has pendent jurisdiction over the
8
     state claims, and supplemental jurisdiction over all Defendants herein.
9
                                           II. VENUE
10
     2.         The claims alleged herein arose in the County of Riverside, California.
11
     Venue lies in the Central District of California. 28 U.S.C. §1391(b)(2).
12
                                          III. PARTIES
13
     3.         At all times herein mentioned, Plaintiffs were residents of the City of
14
     Rialto, County of San Bernardino and the State of California. At the time of the
15
     events giving rise to this action, decedent was incarcerated at the Southwest Detention
16
     Center in the County of Riverside, State of California.
17
     4.         At all times herein concerned, Defendant RIVERSIDE was a municipality
18
     and/or governmental entity operating under a Charter, organized and incorporated
19
     under the laws of the State of California, and located in the southern portion of the
20
     State of California. Defendant RIVERSIDE is liable through application of
21
     respondeat superior pursuant to §815.2 of the California Government Code for the
22
     acts of its employees named herein who at all times alleged herein were acting in the
23
24
     course and scope of their employment with said public entity.

25
     5.         Plaintiff is informed and believes and thereon alleges that Defendant

26
     RIVERSIDE was the employer of individual Defendants AARON MARTIN,

27   KRISTINE ZANETEL, SCOTT OVERTON, ADRIAN COTOIA, and DOE

28   Defendants.

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                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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1
     6.           Upon information and belief, Defendant AARON MARTIN (hereinafter
2
     “MARTIN”) is and was, at all times relevant herein to the matters alleged in this com-
3
     plaint, a Correctional Sergeant employed by RIVERSIDE and was acting within the
4
     course and scope of his employment and was acting under color of law.
5
     7.           Upon information and belief, Defendant KRISTINE ZANETEL
6
     (hereinafter “ZANETEL”) is and was, at all times relevant herein to the matters
7
8
     alleged in this complaint, a Correctional Deputy employed by RIVERSIDE and was

9
     acting within the course and scope of her employment and was acting under color of

10
     law.

11   8.           Upon information and belief, Defendant SCOTT OVERTON (hereinafter

12   “OVERTON”) is and was, at all times relevant herein to the matters alleged in this

13   complaint, a Correctional Deputy employed by RIVERSIDE and was acting within

14   the course and scope of his employment and was acting under color of law.

15   9.           Upon information and belief, Defendant ADRIAN COTOIA (hereinafter

16   “COTOIA”) is and was, at all times relevant herein to the matters alleged in this
17   complaint, a Deputy employed by RIVERSIDE and was acting within the course and
18   scope of his employment and was acting under color of law.
19   10.        Plaintiff SHIRLEY GARCIA is the surviving mother and heir at law of
20   decedent, deceased, and therefore is entitled under Sections 377.30 and 377.60 of the
21   California Code of Civil Procedure to bring and maintain the present actions for
22   herself as surviving heir and successor in interest to decedent including those for the
23   violation of decedent’s civil rights for relief enumerated herein. Plaintiff ANTHONY
24   GARCIA is the surviving father and heir at law of decedent, deceased.
25   11.        At all times herein concerned, DOES 1 through 50 inclusive, were
26   correctional deputies, deputies, officers, agents and/or servants and/or employees of
27   the defendant, RIVERSIDE. Said defendants were acting within the course and scope
28

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                  COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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1
     of their authority as such agents and/ or servants and/or employees, with the
2
     permission and consent of their co-defendants, and each of them.
3
     12.        The true names and/or capacities, whether individual, corporate, associate
4
     or otherwise, of defendants named herein as DOES 1 through 50, inclusive, are
5
     unknown to Plaintiff, who therefore sues said defendants by such fictitious names.
6
     Plaintiffs will amend this Complaint to state the true names and capacities when the
7
     same have been ascertained.
8
     13.        Plaintiffs are informed and believe, and upon such information and belief
9
     allege, that each of the defendants, as well as those designated as a DOE is legally
10
     responsible in some manner for the events and happenings referred to, and legally
11
     caused injury and damages to the Plaintiffs as hereinafter set forth.
12
                             IV. DECEDENT'S BACKGROUND
13
     14.        Decedent JOSEPH ANTHONY GARCIA was arrested in the COUNTY
14
     OF RIVERSIDE and was admitted to California's Patton State Mental Hospital on or
15
     about January 6, 2015. Decedent had a history of mental health problems, including a
16
     diagnosis of manic depression, paranoia, and schizophrenia. Decedent was also
17
     prescribed numerous medications for his mental health.
18
     15.         On or about July 28, 2015, decedent was booked as an inmate into the
19
     Robert Presley Detention Center.
20
     16.        On or about July 31, 2015, decedent was transferred from Robert Presley
21
     to the Southwest Detention Center, located at 30755 Auld Road, Murrieta, California.
22
     17.        At all times, Defendants knew, or at the very least should have known, that
23
     decedent had serious mental health problems and that he had been transferred from
24
     Patton State Mental Hospital with his mental health diagnoses.
25
     18.        At all times, Defendants knew, or at the very least should have known, that
26
     decedent posed a significant risk to himself and others if allowed to be around others
27
     while unsupervised or closely monitored.
28

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                  COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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1
     19.           On August 21, 2015, Defendants MARTIN, ZANETEL, OVERTON, and
2
     MARTIN were assigned to the “E” pod of the Southwest Detention Center, which
3
     houses inmates with mental health needs.
4
     20.           On or about August 21, 2015, Defendants MARTIN, ZANETEL,
5
     OVERTON, and MARTIN placed decedent into a cell with Robert Lee Thomas, who
6
     was known to be incarcerated on charges of murder and other crimes.
7
     21.           On August 21, 2015, Richard Lee Thomas pushed the emergency button in
8
     his cell requesting deputies to respond to the cell. Thomas and decedent were the only
9
     two persons within the cell. The deputies discovered the decedent lying dead on the
10
     cell floor.
11
     22.           The investigation into decedent's death concluded that decedent had been
12
     strangled to death by Richard Lee Thomas while in the custody of RIVERSIDE.
13
           V. DEFICIENCIES IN RIVERSIDE'S CARE AND SUPERVISION OF
14
                         INMATES WITH MENTAL HEALTH NEEDS
15
     23.           RIVERSIDE has one of the largest jail systems in California, with nearly
16
     4,000 men and women held in five detention facilities. Decedent was one of these
17
     individuals.
18
     24.           While decedent was locked up in RIVERSIDE's jail system, he faced cruel
19
     and inhumane deficits in mental health care. Defendant RIVERSIDE has known for
20
     years that its inadequate mental health care places prisoners, such as decedent herein,
21
     at a serious risk of harm, but RIVERSIDE has failed to take the necessary steps to
22
     mitigate the risk. As a result, prisoners in the Riverside jails, like the decedent herein,
23
     are subjected to policies and practices that systematically deprive them of their
24
     constitutional right to basic life-saving care.
25
     25.           RIVERSIDE has a policy and practice of failing to provide proper mental
26
     health care, supervision, and monitoring of prisoners with mental health problems,
27
     and is deliberately indifferent to the risk of harm, injury, and death to prisoners.
28

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1
     RIVERSIDE often denies or delays care, supervision and/or monitoring, causing
2
     unnecessary pain and suffering as well as physical injury to the prisoners with mental
3
     health problems.
4
     26.         RIVERSIDE and Defendants MARTIN, ZANETEL, OVERTON, and
5
     MARTIN failed to provide proper mental health care, supervision, and monitoring of
6
     decedent, whom Defendants knew had serious mental health problems. At all times,
7
     Defendants were deliberately indifferent to the risk of harm, injury, and resulting
8
     death to decedent. RIVERSIDE and MARTIN, ZANETEL, OVERTON, and
9
     MARTIN failed to care, supervise and/or monitor the decedent, causing unnecessary
10
     pain and suffering as well as death to the decedent with known mental health
11
     problems.
12
     27.         RIVERSIDE has known that its jail screening and intake process fails to
13
     adequately identify and treat the medical and mental health problems of newly
14
     arriving prisoners.
15
     28.         Insufficient numbers of nursing staff are available to identify and evaluate
16
     medical conditions on intake, resulting in dangerous delays in treatment and
17
     dangerous placements of prisoners with others. This results in high-risk prisoners do
18
     not have histories taken, physical assessments, or treatment plans.
19
     29.         As a result, prisoners (such as decedent herein) are placed at serious risk
20
     of harm.
21
     30.         Initial mental health screening at the jails is faulty because it is performed
22
     by untrained custody staff, a practice that Riverside Sheriff Stanley Sniff knows is
23
     inadequate and dangerous because, as he states, “correctional officers may not
24
     recognize hidden medical and/or mental health problems that could be best observed
25
     by a medical/mental health expert. This could result in delaying needed treatment.”
26
     Appropriate screening is particularly important since, according to the Sheriff, “the
27
     time period immediately following admission to a jail is the most dangerous time for
28

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                  COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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1
     an inmate, and over half of in-custody deaths occurred within one month of
2
     admissions, with 24% of deaths occurring within two days of admission.”
3
     31.        Many of the deficits described herein stem from the inadequate health care
4
     staffing levels maintained by Defendant in the jails. There are simply not enough
5
     doctors, nurses, mental health providers, pharmacists, or medical records staff to meet
6
     the needs of the population.
7
     32.        Defendant RIVERSIDE’s policy and practice of severely understaffing
8
     health care positions in the jails is long standing and has been repeatedly censured by
9
     the county Grand Jury. In 2010, the Grand Jury found that “[m]ental health staff is not
10
     available in any county jail facility in sufficient numbers to identify and treat in an
11
     individualized manner those treatable inmates suffering from serious mental
12
     disorders.” The Grand Jury Report released on June 14, 2012, states the problem in
13
     clear terms:
14
15              In July, 2011, DMH was advised. . . .that the medical/mental health
                staffing levels in county jails needed to be restored to 2007 levels, in
16
                order to be in compliance with [state law]. As of this writing, the
17              Grand Jury learned through sworn testimony that during the eight
                months following the 2010-2011 Grand Jury report, DMH staffing
18
                levels were allowed to decrease even further.
19
     33.        According to the independent Inmate Medical Quality evaluators, invited
20
     by Sheriff Sniff to identify deficiencies in jail health care, “[t]he request for medical
21
     care exceeds the capability of the staff to meet the demands.” The Detention Health
22
     Services administrator agreed, admitting that “the demand exceeds the resources
23
     available to provide the requested services.”
24
     34.        A crucial element of an adequate mental health care delivery system is an
25
     appropriate means to assess and monitor patients who exhibit or contemplate self-
26
     harming behavior or behavior which makes them susceptible to being harmed by
27
     others. Here, too, RIVERSIDE’s practices fall far short of acceptable mental health
28
     care procedures. Prisoners believed to be suicidal or self-harming or at risk of being
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                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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1
     harmed by others are placed in a barren cell with only a rough smock to wear and a
2
     hole in the ground to relieve themselves. The so-called “safety cells” are often filthy
3
     and stink of the urine and feces that is visible on the walls and floor. Patients are left
4
     in the cells for many days, with inadequate monitoring or supervision and no
5
     meaningful treatment, under lights that are never turned off.
6
     35.        Defendant RIVERSIDE has known for years of the significant risk of harm
7
     to inmates with mental health problems from its inadequate jail health care system and
8
     has failed to take reasonable steps to mitigate the risk to such prisoners.
9
     36.        Defendant RIVERSIDE has for many years intentionally underfunded
10
     mental health care for inmates. The lack of infrastructure and staff to provide care,
11
     supervision, and monitoring of mental health patients has resulted, in Sheriff Stanley
12
     Sniff's words to the Board of Supervisors, “in a crisis in the jail system.”
13
     37.        RIVERSIDE's own Grand Jury has concluded that dangerous deficits in
14
     mental health care services in the jails threaten the lives and health of the thousands of
15
     men and women they hold.
16
     38.        The severe deficiencies in mental health care services in RIVERSIDE'S
17
     jails are well established by admissions from Sheriff Sniff and reports from state and
18
     county watchdogs and independent auditors. RIVERSIDE has long been aware of the
19
     harm its deficient system causes to mental health inmates with serious needs.
20
     RIVERSIDE's failure to take action to ameliorate the conditions constitutes
21
     RIVERSIDE'S deliberate indifference to decedent's mental health needs.
22
     39.        Persons with mental health problems in Defendant RIVERSIDE’s custody
23
     face a substantial risk of harm from violence at the hands of other incarcerated people
24
     due to its policy and practice of failing to adequately screen, supervise, and classify
25
     people in its custody. Vulnerable individuals, like decedent herein, are regularly
26
27
     assaulted and victimized by other individuals in the facilities because Defendants have

28
     failed to take reasonable measures to protect them. Because of this, Defendants

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                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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1
     RIVERSIDE and Defendants MARTIN, ZANETEL, OVERTON, and MARTIN are
2
     deliberately indifferent to the danger of assault faced by people, such as the decedent
3
     herein, with mental health needs in their custody.
4
     40.        Defendant RIVERSIDE does not adequately classify and assign people to
5
     housing locations where they will be safe from injury and violence. Individuals who
6
     are incompatible are regularly housed together. Here, decedent, an inmate with
7
     serious mental health needs, was housed with Richard Lee Thomas, an inmate who
8
     faced serious criminal charges including murder. Defendants RIVERSIDE and
9
     Defendants MARTIN, ZANETEL, OVERTON, and MARTIN knew that Thomas
10
     posed a risk of serious harm or death to the decedent. However, defendants were
11
     deliberately indifferent to this danger of serious harm or death to the decedent.
12
     41.        Defendants RIVERSIDE and Defendants MARTIN, ZANETEL,
13
     OVERTON, and MARTIN failed to properly assess, treat, care for, supervise, and
14
     monitor decedent as an inmate at the Southwest Detention Center. Decedent, a
15
     prisoner in the mental health ward of RIVERSIDE'S jail, died as a result of being
16
     beaten and strangled by his cellmate. Defendants RIVERSIDE and Defendants
17
     MARTIN, ZANETEL, OVERTON, and MARTIN acted with deliberate indifference
18
     to the decedent's safety. The defendants knew, or should have known about the
19
     dangerous violent propensities of the cellmate, but disregarded the risk by placing him
20
     in the decedent's cell and thereafter failed to adequately respond to the resulting
21
     attack. The defendants also knew, or should have known of the decedent's
22
     propensities in his character that would cause a serious risk of harm by others not
23
     aware of or not inclined to tolerate decedent's paranoia schizophrenia behavior.
24
     42.        At all times, Defendants RIVERSIDE and Defendants MARTIN,
25
     ZANETEL, OVERTON, and MARTIN owed a duty to the decedent to care for,
26
27
     protect, supervise, monitor and ensure that his constitutional rights were protected.

28

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                  COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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 1
      Defendants breached their duties owed to the decedent, which was a substantial factor
 2
      in causing the decedent's death.
 3
                                     CLAIMS FOR RELIEF
 4
                                         First Cause of Action
 5
         (Fourteenth Amendment - Cruel and Unusual Conditions, 42 U.S.C. § 1983)
 6
                                      Against All Defendants
 7
      43.        Plaintiffs incorporate by reference each and every allegation contained in
 8
      the preceding paragraphs as if set forth fully herein.
 9
      44.        By the policies and practices described herein, Defendants RIVERSIDE
10
      and Defendants MARTIN, ZANETEL, OVERTON, and MARTIN subjected decedent
11
      to a substantial risk of serious harm and injury from inadequate mental health care,
12
      screening, supervision, monitoring, violence between prisoners, and violated his right
13
      to basic human dignity and to be free from cruel and unusual conditions under the
14
      Fourteenth Amendment to the United States Constitution. These policies and
15
      practices have been and continue to be implemented by Defendant RIVERSIDE and
16
      its agents, officials, employees, and all persons acting in concert under color of state
17
      law, in their official capacity, and are the proximate cause of the decedent's death and
18
      deprivation of rights secured under the Fourteenth Amendment.
19
      45.        Defendants RIVERSIDE and Defendants MARTIN, ZANETEL,
20
      OVERTON, and MARTIN have been and are aware of all of the deprivations
21
      complained of herein, and have condoned or have been deliberately indifferent to
22
      such conduct.
23
      46.        Defendants' RIVERSIDE and Defendants MARTIN, ZANETEL,
24
      OVERTON, and MARTIN deliberate indifference to the needs, supervision,
25
      monitoring, classification, and housing of the decedent as an inmate with mental
26
      health needs was a substantial factor in causing the decedent's death.
27
28

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 1
                                      Second Cause of Action
 2
            (Eighth Amendment – Cruel and Unusual Punishment, 42 U.S.C. § 1983)
 3
                                      Against All Defendants
 4
      47.        Plaintiffs incorporate by reference each and every allegation contained
 5
      in the preceding paragraphs as if set forth fully herein.
 6
      48.        By the policies and practices described herein, Defendants RIVERSIDE
 7
      and Defendants MARTIN, ZANETEL, OVERTON, and MARTIN subjected
 8
      decedent to a substantial risk of serious harm and injury from inadequate mental
 9
      health care, screening, supervision, monitoring, violence between prisoners, and
10
      violated his right to be free from cruel and unusual punishment under the Eighth
11
      Amendment to the United States Constitution. These policies and practices have
12
      been and continue to be implemented by Defendant RIVERSIDE and its agents,
13
      officials, employees, and all persons acting in concert under color of state law, in their
14
      official capacity, and are the proximate cause of the decedent's deprivation of rights
15
      secured under the Eighth Amendment.
16
      49.        Defendants' RIVERSIDE and Defendants MARTIN, ZANETEL,
17
      OVERTON, and MARTIN deliberate indifference to the needs, supervision,
18
      monitoring, classification, and housing of the decedent as an inmate with mental
19
      health needs was a substantial factor in causing the decedent's death.
20
                                   SUPPLEMENTAL CLAIMS
21
                          THIRD CAUSE OF ACTION – STATE LAW
22
               (For Negligence/Wrongful Death pursuant to CCP §377.60 et seq.)
23
                                      Against All Defendants
24
      50.          Plaintiff re-alleges and incorporates by reference the information set forth
25
      in the preceding paragraphs as though fully set forth herein.
26
      51.          Pursuant to California Government Code §910 et seq., Plaintiffs timely
27
      filed a Claim for Damages with the County of Riverside on February 1, 2016.
28

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 1
      Plaintiff received notification of Rejection of Claim as of February 25, 2016, upon
 2
      which Plaintiff had six (6) months from that date to file a court action. Plaintiff has
 3
      complied with this timeline.
 4
      52.          Plaintiff invokes the pendant jurisdiction of this Court to hear this claim.
 5
      53.          Pursuant to California Government Code §815.2, Defendant RIVERSIDE
 6
      is liable for injury proximately caused by an act or omission of its employees within
 7
      the scope of his/her employment if the act or omission would have given rise to a
 8
      cause of action against that employee or his personal representative. Section 815.2’s
 9
      "[v]icarious liability is a primary basis for liability on the part of a public entity, and
10
      flows from the responsibility of such an entity for the acts of its employees under the
11
      principle of respondeat superior." (Zelig v. County of Los Angeles (2002) 27 Cal.4th
12
13
      1112, 1128.).

14
      54.          Pursuant to California Government Code §820(a), Defendants MARTIN,

15    ZANETEL, OVERTON, and MARTIN are liable for their individual torts to the same

16    extent as private persons. No privileges or immunities exist to exonerate these

17    defendants from their actions herein.

18    55.          At all times herein mentioned, Defendants RIVERSIDE and Defendants

19    MARTIN, ZANETEL, OVERTON, and MARTIN owed a duty to decedent to not

20    endanger his life or liberty, to use appropriate tactics and procedures and to follow an
21    appropriate custom and practice regarding persons in the same situation as decedent.
22    56.          Said defendants breached their duty of care to decedent through their acts
23    and failures to act, thereby proximately causing decedent’s death, and depriving
24    Plaintiffs of decedent’s love, society, companionship, comfort, protection, services and
25    support.
26    57.          As a proximate, legal and direct result of the above mentioned conduct of
27    the defendants, an each of them, Plaintiffs have suffered significant damages.
28

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                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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 1
                                          PRAYER
 2
                Wherefore, Plaintiffs pray for judgment as follows:
 3
           1.       For all available general damages according to proof;
 4
           2.       For all available special damages according to proof;
 5
           3.       Loss of earnings and earning capacity according to proof;
 6
           4.       Attorneys' fees according to proof;
 7
           5.       Costs of suit incurred herein; and
 8
           6.       For exemplary and punitive damages as to the individual defendants,
 9
                    only;
10
           7.       For any other available relief as the court may deem just and proper.
11
12
                               DEMAND FOR JURY TRIAL
13
14
      DATED: August 24, 2016                     SPRAY, GOULD & BOWERS LLP
15
16
17                                                __________________________
18                                                    DARREN M. HARRIS
                                                      Attorney for Plaintiffs
19
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25
26
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